                        _,(~-\,,

                        v                                                                                       0
                                  THE CHANCERY COURT
                              DA\1DSON COUNTY, TENNESSEE

                   HONORABLE ELLEN HOBBS LYLE, CHANCELLOR                                                                        FILED
                        MARIAM. SALAS, CLERK AND MASTER                                                                         AUG 2 2 2018
                                                                                                                         Clerk of the Appellate Courts
                             ABU-ALI-ABDUR'RAHMAN, ET AL                                                                 Rec'd By
                                               Plaintiffs/Appellants
                                                                                                            VOLUME 11 of 28

    CERTIFIED                                                                                                   ~     APPEALED
                                                                                                                "
                                                                                                                0

   TRANSCRIPT                                                    Vs                                       §..
                                                                                                         rJJ
                                                                                                                          TO
                                                                                                         ~g
        OF
                                   (N1-:--o-.M::-:-:-20::"'.1-=-s--=o"'.".13::s-=-s--=s-=c-=-RD'."::""::o'""g=- ~ ~   Next Term,

                                               SUPREME COURT
                                                                                                         ~
       Cause                                                                                             t".l             20
                                            TRANSMITTED ON:

                                                   August 21. 2018
                                                                                                         ~
   TONY PARKER, IN HIS OFFICIAL CAPACITY AS TENNESSEE COMMISSIONER OF
                             CORRECTION, ET AL
                                              Defendants/Appcllees



                             Trial Transcript from July 12, 2018
                                      Pages 1029 - 1136



Kelley J. Henry, #21113
Assistant Federal Public Defender
810 Broadway, Suite 200
Nashville TN 37202
(615) 736-5047

       Attorney for Plaintiffs/Appellants Abu-Ali-Abdur'Rahman, John Michael Bane,
Byron Black, Andre Bland, Kevin Burns, Tony Carruthers, Tyrone Chalmers, James
Dellinger, David Duncan, Kennat/1 Henderson, Ant/tony Darrell Hines, Henry Hodges,
Stephen Hugueley, Aki/ Jalti, David Ivy, Donnie Johnson, David Jordan, David Keen, Donald
Middlebrooks, Farris Morris, Pervis Payne, Gerald Powers, William Glenn Rogers, Michael
Sample, Oscar Smith, Charles Walton Wright and Edmund Zagorski




  Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 1 of 17 PageID #: 722
                                                                                                                               Attachment 21
Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 2 of 17 PageID #: 723
                                                                   Attachment 21
Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 3 of 17 PageID #: 724
                                                                   Attachment 21
             ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                       Transcript of Proceedings on 07/13/2018




             In THE CHANCERY COURT
         FOR DAVIDSON COUNTY, TENNESSEE

 ABU ALI ABDUR'RAHMAN,
 et al,

          Plaintiffs,

 vs.                              NO.   18-183-II(III)

 TONY PARKER,     et al,

          Defendants.




          Transcript of Proceedings

          Before the Honorable Ellen Hobbs Lyle

          July 13,    2018

          Volume 5




                   HUSEBY, INC.
            Court Reporting Services
         207 Washington Square Building
             214 Second Avenue North
           Nashville, Tennessee   37201
                 I 615 I 256-1935



www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
  Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 4 of 17 PageID #: 725
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1304

  1      high-risk sterile compounding products that
  2     were imported into the State of Tennessee
   3     from the New England Compounding Company?
   4     You're aware of this, correct?
   5    A.         Not specifically, no.
   6     Q.        You're aware of the meningitis
  7      outbreak?
   8    A.         Yes.
   9     Q.        And you were aware that the FDA or are
 10      you aware that the U.S. Department of Health
 11      and Human Services, Food and Drug
 12     Administration, and the Center for Drug
 13      Evaluation and Research has issued a guidance
 14      for the industry?           Are you aware of that?
 15     A.         I'm familiar that they have issued.                      I

 16      don't know the particulars of it.
 17      Q.        Are you aware,         sir, that there is a
 18      statute that Congress passed a statute called
 19      The Drug Quality and Safety Act?
 20     A.         I'm not familiar with the details of
 21      that, no.
 22      Q.        Do you know it exists?
 23     A.         No.
 24      Q.        Are you aware,         sir, that federal law
 25      prohibits the compounding of drugs that are


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
  Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 5 of 17 PageID #: 726
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1305

  1      commercially available?
  2     A.         Yes.      I've heard that,         yes.
   3     Q.        Are you aware,         sir, that Pentobarbital
   4     is commercially available in the United
   5     States?
   6    A.         For the purpose of medical procedures?
  7      Q.        Are you aware that Pentobarbital is
   8     available in the United States generally?
   9    A.         Yes.
 10      Q.        And so under federal law in normal
 11      circumstances, it would violate federal law
 12      to compound Pentobarbital, correct?
 13     A.         My interpretation of that, not being
 14      an attorney,       yes,    it would be if you were
 15      using it for the purpose of a medical
 16      procedure there would be no reason to
 17      compound it if you can purchase it for a
 18     medical procedure.
 19      Q.        And the same is true for Midazolam,
 20      correct?
 21     A.         Correct.
 22      Q.        And you are aware, sir, that federal
 23      law or are you aware,            sir, that federal law
 24      defines a copy of the commercially available
 25      drug is made when the same API, active


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
  Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 6 of 17 PageID #: 727
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1306

  1      pharmaceutical ingredient, as is used in a
  2      commercially available drug is also used for
   3     the compounded drug,            that the FDA calls that
   4     a copy?      Are you aware of that?
   5    A.         I'm not.
   6     Q.        Are you aware that federal law
  7      prohibits the compounding of what is
   8     essentially a copy?
   9    A.         I am not.
 10      Q.        And are you aware that federal law
 11      requires that there must be documentation
 12      provided of the shortage before a drug can be
 13      compounded?
 14     A.         I am not.
 15      Q.        I want to ask you, sir, now about some
 16      questions regarding the commercially prepared
 17     Midazolam that the Department of Correction
 18      had in its possession that has since expired.
 19      Okay?
 20     A.         Okay.
 21      Q.        That drug had -- the manufacturer of
 22      that drug sent you a letter requesting that
 23      it be returned, did they not?
 24     A.         They did.
 25      Q.        You didn't read the entire letter,


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
  Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 7 of 17 PageID #: 728
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1307

  1      correct?
  2     A.         Correct.
   3     Q.        Do you have retention policies at the
   4     Department of Correction?
   5    A.         We do.
   6     Q.        Would a letter such as that be
  7      required to be retained?
   8    A.         I'm not sure.          I don't think so, but
   9     I'm not sure.          I'd have to check with legal.
 10      Q.        So is it your testimony that a letter
 11      from a manufacturer of a drug to be used in
 12      the lethal injection execution --
 13                        MR. SUTHERLAND:           Your Honor, I
 14      object to relevancy.
 15                        THE COURT:        What    lS   the
 16      relevance?
 17                        MS. HENRY:        The relevancy is,
 18      Your Honor, to the transparency at the
 19      Department of Correction.                I believe
 20      testimony from Debra Inglis will be that she
 21      threw the letter away.              And I think this is
 22      important information where the Defendants
 23      are alleging issues with respect to the
 24      availability of drugs and whether they can or
 25      can't get them because of certain division


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
  Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 8 of 17 PageID #: 729
                                                                           Attachment 21
               ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                         Transcript of Proceedings on 07/13/2018            Page 1308

  1      controls.
  2                        MR. SUTHERLAND:           You're talking

   3     about Midazolam?           The letter is about
   4    Midazolam.         So I don't know what relevance a

   5     letter from a manufacturer has to do with a
   6     facial challenge.

  7                        THE COURT:        The Court overrules
   8     the objection.          Go ahead.
   9     BY MS. HENRY:

 10      Q.         Is it your testimony,            sir,    that the
 11      Department of Correction is not required to

 12      keep a letter from a manufacturer that they
 13      sent to the Department of Correction

 14      regarding a drug that they made that we used
 15      in a lethal injection execution?
 16     A.          I wouldn't know of no requirement.

 17     Again,      it's something I can research here
 18      today.      I don't know of any particular

 19      requirement that requires us to maintain it,
 20      no.

 21      Q.         Do you know where that letter is?
 22     A.          I do not.

 23      Q.         Did you pass that letter on to the
 24      governor?
 25     A.          I didn't.


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
  Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 9 of 17 PageID #: 730
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1309

  1      Q.        The reason that they asked for the
  2      drugs back is because they were delivered to
   3     the Department of Correction in violation of
   4     their distribution laws, correct?
   5                       MR. SUTHERLAND:           Your Honor, I'm
   6     going to object to Ms. Henry testifying about
  7     what the letter says.              We don't have a
   8     letter.      I mean, she's
   9                       THE COURT:        Yes.     The Court
 10      sustains the objection.               We need to lay a
 11      foundation.         Is there a witness to testify to
 12      this?     Is this a phantom witness situation?
 13     What's the foundation?
 14                        MS. HENRY:        He testified to it in
 15      his deposition.           I wasn't going to impeach
 16      him with his deposition.
 17                        THE COURT:        Sure.      Let's keep
 18      asking.      The Court overrules the objection.
 19      BY MS. HENRY:
 20      Q.        The basis for the letter was that the
 21      drugs had been obtained in violation of the
 22     manufacturer's distribution controls,
 23      correct?
 24     A.         Correct.
 25      Q.        However, you did decline to return to


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
 Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 10 of 17 PageID #: 731
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1310

  1      the drugs at the time they were requested,
  2      correct?
   3    A.         That's correct.
   4     Q.        Those same distribution controls exist
   5     for Pentobarbital, correct?
   6    A.         I'm assuming they do, yes.
  7      Q.        And yet, other states have been able
   8     to continue to obtain Pentobarbital, have
   9     they not?
 10                        MR. SUTHERLAND:           Objection.
 11      Speculation and foundation.
 12                        THE COURT:        Yes.     Foundation.
 13      BY MS. HENRY:
 14      Q.        Commissioner, you testified again that
 15      you've done research on lethal injection,
 16      correct?
 17     A.         Correct.
 18      Q.        You've spoken to your colleagues at
 19      other Department of Correction, correct?
 20     A.         Correct.
 21      Q.        You have spoken with your colleagues
 22      at the Department of Correction since this
 23      issue of obtaining Pentobarbital came up,
 24      correct?
 25     A.         That's correct.


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
 Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 11 of 17 PageID #: 732
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1311

  1      Q.        And are you aware that Texas has
  2      executed seven inmates this year using
   3     compounded Pentobarbital?
   4    A.         I'm aware that they have executed
   5     inmates using Pentobarbital, yes.
   6     Q.        And are you aware that Georgia, as
  7      recent as May 4th, 2018, has executed inmates
   8     using compounded Pentobarbital?
   9    A.         That's correct.
 10      Q.        The rest of the information that you
 11      possess with respect to the Department's
 12      attempts to obtain any lethal injection
 13      chemicals is based completely on information
 14      that you heard from a third party, correct?
 15     A.         Let me get more clear.
 16                Your drug procurer at the Department
 17      of Correction, he's the person who's provided
 18      you with information about what efforts or
 19      lack of efforts the Department has made,
 20      correct?
 21                        MR. SUTHERLAND:           I object to the
 22      pronoun, Your Honor.
 23                        THE COURT:        It was meant
 24      generically.         Okay.      Just use drug procurer
 25      again.


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
 Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 12 of 17 PageID #: 733
                                                                           Attachment 21
             ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                       Transcript of Proceedings on 07/13/2018              Page 1312

  1                        THE WITNESS:         The drug procurer
  2     who has been charged with finding
   3     Pentobarbital for the Department along with
   4    myself and my conversations with other
   5     individuals across America, we have failed to
   6     find a solution
  7                        MS. HENRY:        Your Honor,        I'm going
   8     to object at this point in time.                   Attempting
   9     to establish the basis of his knowledge is
 10      hearsay, that is any further answer on behalf
 11      of this witness as he just testified is going
 12      to be hearsay.          I would ask that the witness
 13      be instructed not to respond further.
 14                        THE COURT:        If you will ask him
 15      the question again.             Because the question was
 16      is his knowledge limited to what he learns or
 17      hears from the procurer and his answer is --
 18      give me yes or no, Commissioner.
 19                        MR. SUTHERLAND:           Your Honor, if I
 20      could interject.
 21                        THE COURT:        Yes.
 22                        MR. SUTHERLAND:           Because this
 23     will come up again.              The Commissioner, this
 24      information is relevant to a not hearsay
 25      basis as to why the Department has taken the


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
 Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 13 of 17 PageID #: 734
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1313

  1      steps to adopt a protocol,               in other words,
  2      not for the truth of what they have done, but
   3     for the fact that as a result of what has
   4     been done.        Whatever that is irregardless of
   5     the truth, it caused the Department,
   6     specifically this individual --
  7                        THE COURT:        You can ask about
   8     that on cross-examination.                They're asking
   9     for a different reason,             loss of availability
 10      and for the Court to know what the universe
 11      of information is here.               I need the
 12      Commissioner to give me a yes or no answer.
 13      If you will repeat the question.
 14      BY MS. HENRY:
 15      Q.        We'll just go straight to your
 16      deposition.        Okay?
 17                In your deposition,            sir, did you tell
 18     me that you have not personally had a
 19      conversation with any pharmacist or supplier
 20      of LIC requesting whether they could provide
 21      LIC?
 22     A.         That's correct.
 23      Q.        And did you tell me that any knowledge
 24      you had is based upon conversations you had
 25     with other individuals who are not pharmacies


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
 Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 14 of 17 PageID #: 735
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1314

  1      or manufacturers of drugs?
  2     A.         That's correct.
   3     Q.        Commission Parker, the Department of
   4     Correction has a pharmacy on site, correct?
   5    A.         That's correct.
   6     Q.        At the DeBerry Special Needs facility,
  7      correct?
   8    A.         Correct.
   9     Q.        And that pharmacy has a DEA license,
 10      correct?
 11     A.         That's correct.
 12      Q.        So they're capable of purchasing
 13      controlled substances, correct?
 14     A.         Correct.
 15      Q.        And on June the 5th, 2018, you
 16      testified that both protocols,                 Protocol A and
 17      Protocol B, were selected, correct?
 18     A.         Correct.
 19      Q.        And that either protocol could be used
 20      in an execution, correct?
 21     A.         Correct.
 22      Q.        And that it was your preference to use
 23      Pentobarbital, correct?
 24     A.         Correct.
 25      Q.        You testified that Pentobarbital was


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
 Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 15 of 17 PageID #: 736
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018              Page 1315

  1      the preferred method of execution, correct?
  2     A.         Correct.
   3     Q.        Commissioner,         is the Department of
   4     Correction able to carry out an execution
   5     using just Midazolam and Potassium Chloride?
   6    A.         I don't understand your question.                    We
  7      have a three-drug protocol.                 We would have to
   8     have all three drugs to carry out an
   9     execution.
 10      Q.        If the second drug -- what role does
 11      the second drug play in the execution?
 12     A.         The second drug is a paralytic that
 13      paralyzes and stops the breathing.
 14      Q.        Will the Potassium Chloride alone kill
 15      an inmate?
 16                        MR. SUTHERLAND:           Objection.
 17      Foundation.
 18                        THE COURT:        The Court overrules
 19      the objection.
 20                        THE WITNESS:         I'm assuming it
 21      could, yes.
 22      BY MS. HENRY:
 23      Q.        If the Midazolam works as you intend
 24      it to work and the Potasium Chloride will
 25      kill the inmate, then the Vecuronium Bromide


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
 Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 16 of 17 PageID #: 737
                                                                           Attachment 21
              ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/13/2018             Page 1316

  1      really serves no purpose as far as bringing
  2      about the death of the inmate, does it?
   3    A.         Well,     from a layman's term or my
   4     opinion, which I'm not a medical
   5     professional, if the Potassium Chloride were
   6     to stop the heart, obviously, that could kill
  7      the inmate.        So yes.
   8     Q.        And with respect to the issue of not
   9     being a medical professional, when I asked
 10      you in your deposition regarding the
 11      consciousness check about signs that the
 12      inmate might be conscious, what sorts of
 13      signals they might give, you told me that
 14      that called for a medical opinion, correct?
 15     A.         I may have.         I don't remember exactly
 16     what I said.
 17      Q.        So to be more specific, let's go to
 18      Page 258.       I'll back up a little bit for my
 19      question and I'm going to try and ask these
 20      questions quickly.
 21                Do you need to see a copy of your
 22      deposition?
 23     A.         Sure.      That's okay.         If you can put it
 24      up on the monitor.
 25      Q.        If you could turn, sir, to Page 258.


www.huseby.com              Huseby, Inc. Regional Centers                800-333-2082
        Charlotte-Atlanta- Washington, DC -New York-Houston - San Francisco
 Case 3:18-cv-01234 Document 1-22 Filed 11/02/18 Page 17 of 17 PageID #: 738
                                                                           Attachment 21
